Case 1:23-cv-04070-JHR-SAK Document 19-1 Filed 10/23/23 Page 1 of 23 PageID: 177




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                   IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEW JERSEY

   CHRISTOPHER LEARY,                     Civil Action No.: 1:23-cv-04070-JHR-SAK

                     Plaintiff,           Document Electronically Filed
           v.
   EGG HARBOR TOWNSHIP POLICE
   DEPARTMENT, THE TOWNSHIP OF
   EGG HARBOR, MAINLAND LOCAL
   PBA #77, NEW JERSEY STATE
   ASSOCIATION OF CHIEFS OF POLICE,
   STATE OF NEW JERSEY, MICHAEL
   HUGHES,    INDIVIDUALLY    AND
   ACTING UNDER COLOR OF LAW,
   WILLIAM NALLY, INDIVIDUALLY
   AND ACTING UNDER COLOR OF
   LAW,    JEFFERY     LANCASTER,
   INDIVIDUALLY     AND     ACTING
   UNDER COLOR OF LAW, REYNOLD
   THERIAULT, INDIVIDUALLY AND
   ACTING UNDER COLOR OF LAW
   DONNA        L.       MARKULIC,
   INDIVIDUALLY     AND     ACTING
   UNDER COLOR OF LAW, JOHN AND
   JANE     DOES      1-10,    ABC


 7494286
Case 1:23-cv-04070-JHR-SAK Document 19-1 Filed 10/23/23 Page 2 of 23 PageID: 178




   CORPORATIONS, AND XYZ STATE
   ENTITIES.
                       Defendants.




     BRIEF IN SUPPORT OF MOTION OF DEFENDANTS, NEW JERSEY
   STATE ASSOCIATION OF CHIEFS OF POLICE AND WILLIAM NALLY,
   TO DISMISS PLAINTIFF’S COMPLAINT PURSUANT TO RULE 12(B)(6)
            OF THE FEDERAL RULES OF CIVIL PROCEDURE



 Of Counsel:

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 On the Brief:

 Weston J. Kulick, Esq.




                                       2
 7494286
Case 1:23-cv-04070-JHR-SAK Document 19-1 Filed 10/23/23 Page 3 of 23 PageID: 179




                             PRELIMINARY STATEMENT

           Defendants NJSACOP and Chief William Nally move to dismiss this

 Complaint under Federal Rule of Civil Procedure 12(b)(6) because the claims

 asserted against them are factually and legally frivolous. NJSACOP and its

 employee, Chief Nally, find themselves ensnared in the crosshairs of an employment

 dispute between Plaintiff and his employer, Egg Harbor Township Police

 Department, and his Union, over their alleged interference with Plaintiff’s attempts

 to obtain promotion to a Sergeant position. But the NJSACOP is merely a vendor

 procured by Plaintiff’s employer for the purpose of utilizing a standardized package

 of questions and scenarios for police officer promotional examinations developed

 by NJSACOP. Guesswork, speculation, supposition, and aspersions, not “well-

 pleaded” facts, are the loose foundation of the Complaint against NJSACOP and

 Chief Nally; this is insufficient as a matter of law to sustain a Complaint against

 them.

           Plaintiff asserts that he was denied the opportunity to review his personal test

 and grades in connection with the promotional examination for a Sergeant position,

 but this has nothing to do with NJSACOP, which merely created the test used by

 Plaintiff’s employer. Plaintiff claims this request is permissible in accordance with

 the collective bargaining agreement between his Union and Egg Harbor Township.

 After the Township did not comply with his request, Plaintiff filed a grievance


                                               i
 7494286
Case 1:23-cv-04070-JHR-SAK Document 19-1 Filed 10/23/23 Page 4 of 23 PageID: 180




 seeking his test scores and grades, which was denied because test scores had not

 been provided in accordance with the “past practice” in the Township and that the

 collective bargaining agreement does not apply to outside entities, such as the

 NJSACOP. Critically, this Court need not wade into whether there is truth to any of

 these factual allegations. Instead, even giving all factual inferences to the Plaintiff

 reveals that his Complaint still fails to allege a claim on which relief can be granted

 as against NJSACOP and Chief Nally at all, in violation of the frivolous pleading

 provisions of the Federal Rules of Civil Procedure.

           It is clear from the Complaint that Plaintiff’s dispute is with his employer and

 his union, and not the NJSACOP nor its employee Chief Nally, as no unlawful

 conduct has been alleged against either. In fact, Chief Nally is not mentioned once

 in the entire Complaint besides being defined as a party. Similarly, the NJSACOP is

 only mentioned in the “Factual Allegations Common to All Counts,” the portion of

 the Complaint which sets the factual foundation for the claims it asserts, beyond a

 quote from the Township in its grievance response having nothing to do with any

 substantive legal claim by Plaintiff. NJSACOP is merely mentioned in the factual

 background of Count I -- in reference to its contract with the Township -- but no

 allegation is made against it. The only other mention of NJSACOP in the Complaint

 comes in Count VI wherein Plaintiff alleges there was a “Conspiracy,” but the




                                              ii
 7494286
Case 1:23-cv-04070-JHR-SAK Document 19-1 Filed 10/23/23 Page 5 of 23 PageID: 181




 Complaint does not cite to any statute or regulation, or otherwise allege that the

 NJSACOP itself actually violated any law(s).

           It is undisputable that NJSACOP is merely an outside vendor retained by

 Plaintiff’s employer to allow the employer access to an examination NJSACOP

 developed. Plaintiff does nor plead any substantive allegation against either

 NJSACOP or Chief Nally linked to action or inaction related to any legal claim. The

 potential for a downstream request for discovery is not a proper basis for maintaining

 unidentifiable claims against NJSACOP and Chief Nally as named party defendants.

 For all of the reasons set forth herein, the Complaint as against NJSACOP and Chief

 Nally should be dismissed with prejudice.




                                          iii
 7494286
Case 1:23-cv-04070-JHR-SAK Document 19-1 Filed 10/23/23 Page 6 of 23 PageID: 182




                                             TABLE OF CONTENTS
                                                                                                                Page

 PRELIMINARY STATEMENT ................................................................................i

 TABLE OF AUTHORITIES .................................................................................... V

 STATEMENT OF FACTS ........................................................................................ 1

 LEGAL ARGUMENT ............................................................................................... 6

           I.      PLAINTIFF’S COMPLAINT MUST BE DISMISSED PURSUANT
                   TO FEDERAL RULE OF CIVIL PROCEDURE 12(B)(6) FOR
                   FAILURE TO SET FORTH A COGNIZABLE CLAIM AGAINST
                   EITHER THE NJSACOP OR CHIEF NALLY ....................................6

           II.     NJSACOP AND CHIEF NALLY REQUEST LEAVE TO FILE
                   AN APPLICATION FOR SANCTIONS PURSUANT TO
                   FEDERAL RULE OF CIVIL PROCEDURE 11 DUE TO THE
                   FRIVOLITY OF PLAINTIFF’S COMPLAINT.................................12

 CONCLUSION ........................................................................................................ 15




                                                          iv
 7494286
Case 1:23-cv-04070-JHR-SAK Document 19-1 Filed 10/23/23 Page 7 of 23 PageID: 183




                                         TABLE OF AUTHORITIES

                                                                                                                    Page(s)

                                                          CASES

 Ashcroft v. Iqbal, 556 U.S. 662 (2009) ..............................................5, 6, 7, 8, 10, 11

 Bell Atlantic Corp. v. Twombly, 550 U.S. 544 (2007) .......................5, 6, 7, 8, 10, 11

 Craig v. Suburban Cablevision, 140 N.J. 623 (1995) ............................................... 1

 Doe v. Univ. of Scis., 961 F.3d 203 (3d Cir. 2020).................................................... 2

 Essex Ins. Co. v. Miles, 2010 WL 5069871 (E.D. Pa. Dec. 3, 2010) ........................ 8

 In re Burlington Coat Factory Sec. Litig., 114 F.3d 1410 (3d Cir.
     1997) ............................................................................................................... 2, 10

 In re Rockefeller Ctr. Props., Inc. Sec. Litig., 311 F.3d at 216 (3d Cir.
     2002) .............................................................................................................10, 12

 James v. City of Wilkes-Barre, 700 F.3d 675 (3d Cir. 2012) .................................... 7

 Lieb v. Topstone Industries, Inc., 788 F.2d 151 (3d Cir. 1986)............................... 13

 McDermott v. Clondalkin Grp., Inc., 649 F. App’x 263 (3d Cir. 2016) ................. 11

 Monroe v. Beard, 536 F.3d 198 (3d Cir. 2008) ......................................................... 7

 Morse v. Lower Merion Sch. Dist., 132 F. 3d 902 (3d Cir. 1997) ........................... 10

 Oakwood Labs. LLC v. Thanoo, 999 F.3d 892 (3d Cir. 2021) .................................. 7

 Santiago v. Warminster Twp., 629 F.3d 121 (3d Cir. 2010) ..................................... 7

 Toys ‘R’ Us, Inc. v. Step Two, S.A., 318 F.3d 446 (3d Cir. 2003) ............................. 1

                                                FEDERAL RULES

 F.R.C.P. 8(a)(2) ................................................................................................7, 8, 10

 F.R.C.P. 11 .........................................................................................5, 12, 13, 14, 15

 F.R.C.P. 11(b) .......................................................................................................... 13

                                                               v
 7494286
Case 1:23-cv-04070-JHR-SAK Document 19-1 Filed 10/23/23 Page 8 of 23 PageID: 184




 F.R.C.P. 12(b)(6).................................................................................................i, 6, 7

 F.R.C.P. 20 ................................................................................................................. 5




                                                              vi
 7494286
Case 1:23-cv-04070-JHR-SAK Document 19-1 Filed 10/23/23 Page 9 of 23 PageID: 185




                               STATEMENT OF FACTS1


           Plaintiff Thomas Leary is a resident of New Jersey employed as an officer of

 the Egg Harbor Township Police Department. See Plaintiff’s Complaint (“Compl.”),

 ECF No. 1, ¶1. Plaintiff also is a member of the mainland Local PBA #77

 policemen’s union. Id. In September 2022, Plaintiff participated in the promotional

 process seeking a Sergeant position within the Egg Harbor Township Police

 Department. Id. at ¶31. After completing the written and oral portions of the

 promotional examination, Plaintiff was provided with his numeric test scores for

 same. Id. at ¶32-34. Dissatisfied with receiving only his numeric scores, Plaintiff

 embarked on a campaign of unsuccessful Grievances in an effort to gain access to

 the actual underlying tests themselves. Id at ¶37-52.

           The NJSACOP is a private entity, unaffiliated with Egg Harbor Township or

 its Police Department, which entered into two contracts with Egg Harbor Township

 for the specific and limited purpose of administering to the Township’s Sergeant

 candidates the promotional examinations developed by NJSACOP -- a Written

 Examination for Promotion Agreement and an Oral Examination for Promotion


 1
   The facts, taken directly from Plaintiff’s Complaint, shall be considered true for
 purposes of this motion only. See Toys ‘R’ Us, Inc. v. Step Two, S.A., 318 F.3d 446,
 457 (3d Cir. 2003); Craig v. Suburban Cablevision, 140 N.J. 623, 625-26 (1995)
 (citation omitted). NJSACOP and Chief Nally reserve the right to contest the truth
 of each and every allegation (factual or otherwise) contained in the Complaint should
 this motion be denied.
                                            1
 7494286
Case 1:23-cv-04070-JHR-SAK Document 19-1 Filed 10/23/23 Page 10 of 23 PageID: 186




  Agreement. See Exhibit “A” to Certification of Vito A. Gagliardi, Jr. (hereinafter

  “Gagliardi Cert.”).2

            The Written Examination for Promotion Agreement describes the limited

  scope of NJSACOP’s contractual relationship with Egg Harbor Township,

  providing:




  Id. at p. 1. The Oral Examination for Promotion Agreement contains a similar

  provision:




  Id. at p. 4. NJSACOP’s involvement with the municipalities who choose to utilize

  the promotional examinations it develops (such as Egg Harbor Township) is limited


  2
    Because the Agreements are integral to Plaintiff’s Complaint and explicitly
  referenced therein, see Compl. ¶¶5, 80-82, the Court may consider them to decide
  the instant motion to dismiss. See Doe v. Univ. of Scis., 961 F.3d 203, 208 (3d Cir.
  2020) (“a document integral to or explicitly relied upon in the complaint may be
  considered without converting the motion to dismiss into one for summary
  judgment.”) (quoting In re Burlington Coat Factory Sec. Litig., 114 F.3d 1410, 1426
  (3d Cir. 1997) (internal quotation marks omitted).
                                           2
  7494286
Case 1:23-cv-04070-JHR-SAK Document 19-1 Filed 10/23/23 Page 11 of 23 PageID: 187




  to providing the standardized assessment and sharing the results with the

  municipality. See id. Nothing in either Agreement gives NJSACOP any authority

  over promotional decisions of Egg Harbor by virtue of electing to utilize the

  NJSACOP-developed Promotional Examinations, nor do the Agreements take from

  the Egg Harbor its complete discretion to do what it so desires with the results of the

  examination. See id.

            Additionally, because officers throughout the State share information in

  preparation for the promotional examination and the promotional examinations take

  place on different dates, in order to avoid situations where officers from other

  departments may gain a competitive advantage by obtaining a copy of the test, the

  Agreements do not permit the release of its examination’s questions and scenarios.

  See id. at p. 1, 4. Specifically, the Agreements provide:




  Id. at p. 1, 4.

            On July 30, 2023, Plaintiff filed the instant Complaint against his employer,

  the Egg Harbor Township Police Department, Egg Harbor Township, and his Union,


                                              3
  7494286
Case 1:23-cv-04070-JHR-SAK Document 19-1 Filed 10/23/23 Page 12 of 23 PageID: 188




  Mainland Local PBA #77, along with NJSACOP and Chief Nally, and the State of

  New Jersey, among other individuals related to those defendants.3 See Compl., ¶2-

  11.

            The Complaint consists of 139 numbered paragraphs. See Compl. The

  Complaint does not mention Chief Nally once beyond describing him in “The

  Parties” section at the top of the Complaint. See Compl., 8. The NJSACOP is not

  mentioned anywhere in the “Factual Allegations Common to All Counts,” beyond a

  quote from the Township in its grievance response. See Compl., ¶45. The Complaint

  mentions NJSACOP in a factual nature in Count I (Breach of Contract), with

  reference made as to the Township and Defendant Hughes signing a contract with

  the NJSACOP, but no actual, specific allegations made against the NJSACOP. See

  Compl., ¶80-86. The Complaint also mentions NJSCOP in Count VI (Conspiracy),

  but again fails to make any specific allegation against the NJSACOP, and without

  citing to any statute or regulation, or otherwise alleging that the NJSACOP violated

  any laws. See Compl., ¶125-129.

            On September 12, 2023, NJSACOP and Chief Nally sent Plaintiff a demand

  to voluntarily dismiss the Complaint against them due to its factual and legal


  3
    Specifically, Plaintiff also sued the following individual defendants: Michael
  Hughes, the then-Chief of the Egg Harbor Police Department, Jeffrey Lancaster, the
  President of Mainland Local PBA #77, Reynold Theriault, Mainland Local
  PBA#77’s Business Agent, Donna L. Markulic, the then-Township Administrator
  for Egg Harbor. See Compl., ¶7, 9-11.
                                           4
  7494286
Case 1:23-cv-04070-JHR-SAK Document 19-1 Filed 10/23/23 Page 13 of 23 PageID: 189




  frivolity. See Gagliardi Cert., Exhibit “B.” The demand advised Plaintiff that

  sanctions would be sought pursuant to Federal Rule of Civil Procedure 11 in the

  event Plaintiff failed to dismiss the frivolous claims within 28 days. Id. On the 28th

  day, Plaintiff responded to the demand for voluntary dismissal. See Gagliardi Cert.,

  Exhibit “C.” Plaintiff refused to dismiss the Complaint as against NJSACOP and

  Chief Nally, offering four “specifics” as to why. See id. The only of these “specifics”

  which refers to facts is the first, which states “our [counsel’s] understanding differs”

  regarding the incontrovertible contractual relationship between NJSACOP as a

  service provider to Egg Harbor and Plaintiff’s counsel’s unsupported assertion of

  the “intertwined nature of the NJSACOP’s role with the Township’s promotional

  processes.” Id. Plaintiff’s response offers no concrete facts, only counsel’s

  understanding. See id. The remaining other three of the four “specifics” offered by

  Plaintiff refer not to any demonstrable facts but rather to the legal standard of

  Twombly,4 the tenets of Federal Rule of Civil Procedure 20, and the application of

  Iqbal.5 Id.




  4
      Bell Atlantic Corp. v. Twombly, 550 U.S. 544 (2007).
  5
      Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009).
                                              5
  7494286
Case 1:23-cv-04070-JHR-SAK Document 19-1 Filed 10/23/23 Page 14 of 23 PageID: 190




                                  LEGAL ARGUMENT

            I.   PLAINTIFF’S COMPLAINT MUST BE DISMISSED
                 PURSUANT TO FEDERAL RULE OF CIVIL
                 PROCEDURE 12(B)(6) FOR FAILURE TO SET FORTH A
                 COGNIZABLE CLAIM AGAINST EITHER THE
                 NJSACOP OR CHIEF NALLY.

            The Court should dismiss the Complaint for failure to state a claim upon

  which relief can be granted under Federal Rule of Civil Procedure 12(b)(6) because

  not only do the factual allegations do not establish a cause of action against

  NJSACOP or Chief Nally. Fed. R. Civ. P. 12(b)(6) requires dismissal of a complaint

  when a plaintiff fails to allege “enough facts to state a claim to relief that is plausible

  on its face.” Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 570 (2007). Indeed, “[t]o

  survive a motion to dismiss, a complaint must contain sufficient factual matter,

  accepted as true, to ‘state a claim to relief that is plausible on its face.’” Ashcroft v.

  Iqbal, 556 U.S. 662, 678 (2009) (quoting Twombly, 550 U.S. at 570). A claim is

  plausible only where it pleads facts that allow the Court to reasonably draw the

  inference that defendant is liable for the misconduct alleged. Iqbal, 556 U.S. at 678.

  Obviously this cannot occur if there simply are no factual allegations, which is the

  case with respect to Chief Nally and NJSACOP. Indeed, where there is an absence

  of sufficient facts alleged to support the legal theory claimed by the plaintiff or the

  absence of a supportable legal theory in a complaint, a motion to dismiss should be

  granted. Twombly, 550 U.S. at 556-57. Moreover, although the federal pleading


                                              6
  7494286
Case 1:23-cv-04070-JHR-SAK Document 19-1 Filed 10/23/23 Page 15 of 23 PageID: 191




  standard requires courts evaluating a motion to dismiss under F.R.C.P. 12(b)(6) to

  accept as true all factual allegations, courts “are not bound to accept as true a legal

  conclusion couched as a factual allegation.” See Twombly, 550 U.S. at 555.

            The Third Circuit employs a three-pronged analysis under Rule 12(b)(6).

  Oakwood Labs. LLC v. Thanoo, 999 F.3d 892, 904 (3d Cir. 2021). First, the elements

  a plaintiff must plead to state a claim are noted. Santiago v. Warminster Twp., 629

  F.3d 121, 130 (3d Cir. 2010) (quoting Iqbal, 556 U.S. at 675). Second, the court

  identifies allegations that “are not entitled to the assumption of truth” because those

  allegations are “recitals of the elements of a cause of action, legal conclusions, and

  conclusory statements.” James v. City of Wilkes-Barre, 700 F.3d 675, 681 (3d Cir.

  2012). Next, the court assumes as true only well-pleaded factual allegations and

  “reasonable inferences that can be drawn from those allegations.” Monroe v. Beard,

  536 F.3d 198, 205 (3d Cir. 2008). The court then determines if those well-pleaded,

  plausible facts and reasonable inferences constitute a supportable legal theory.

            Such analysis in the instant action reveals that Plaintiff cannot possibly sustain

  the Complaint as against Chief Nally and NJSACOP because, quite simply, the

  Complaint lacks the presence of even the most basic facts to meet the particularity

  pleading requirement embedded in Federal Rules of Civil Procedure. Rule 8(a)(2)

  requires a plaintiff to set forth “a short and plain statement of the claim showing that

  the pleader is entitled to relief, in order to give the defendant fair notice of what the

                                                7
  7494286
Case 1:23-cv-04070-JHR-SAK Document 19-1 Filed 10/23/23 Page 16 of 23 PageID: 192




  claim is and the grounds upon which it rests.” See Twombly, 550 U.S. at (citing Fed.

  R. Civ. Proc. 8(a)(2)). In explaining the practical meaning of Rule 8(a)(2), the United

  States Supreme Court has articulated that “a plaintiff’s obligation to provide the

  grounds of his entitlement to relief requires more than labels and conclusions, and a

  formulaic recitation of the elements of a cause of action will not do.” See Twombly,

  550 U.S. at 555 (internal quotations omitted). In the instant case, even assuming the

  truth of every factual allegation set forth in Plaintiff’s complaint, Plaintiff does not

  state a cognizable claim under any of the legal theories alleged. Instead, Plaintiff

  lists the boilerplate elements of the respective claims, using buzz words amounting

  to talismanic invocations of their central elements, but without ever alleging that

  NJSACOP or Chief Nally, in particular, actually did anything. See Essex Ins. Co. v.

  Miles, 2010 WL 5069871, at *3 (E.D. Pa. Dec. 3, 2010) (quoting Iqbal, 556 U.S. at

  679) (complaint cannot be merely a “formulaic recitation of the elements of a cause

  of action”).

            Specifically, Plaintiff pleads the following Counts:

                Count I, breach of contract;
                Count II, breach of covenant of good faith and fair dealing;
                Count III, breach of the duty of fair representation under the New Jersey
                 Civil Rights Act, N.J.S.A. 10:6-2(c) and (e) and the Employer-
                 Employee Relations Act, N.J.S.A. 34:13A-5.4 and 5.3;
                Count IV, intentional infliction of emotional distress;
                Count V, hostile work environment/retaliation;
                Count VI, conspiracy.


                                               8
  7494286
Case 1:23-cv-04070-JHR-SAK Document 19-1 Filed 10/23/23 Page 17 of 23 PageID: 193




  The analysis with respect to the allegations in Complaint against Chief Nally is

  rather straightforward -- there simply are none. Indeed, across the Complaint’s 139

  numbered paragraphs Chief Nally’s name appears once, when the Complaint

  describes him in “The Parties” section at the top of the Complaint. See Compl., 8.

  Plaintiff cannot possibly sustain a Complaint against Chief Nally without alleging

  that he did anything.

            While NJSACOP is mentioned a few more times than is Chief Nally, the

  Complaint similarly fails to actually allege any facts to indicate NJSACOP did (or

  failed to do) anything remotely cognizable as a claim under any of the legal theories

  alleged. Tellingly, NJSACOP is not mentioned anywhere in the “Factual Allegations

  Common to All Counts” (the portion of the Complaint stage for the true essence of

  the Complaint, Plaintiff’s dispute with his employer and union), beyond a quote from

  the Township in its grievance response. See Compl., ¶45. Beyond this, the Complaint

  mentions NJSACOP in a factual nature in Count I (Breach of Contract), with

  reference made as to the Township and Defendant Hughes signing a contract with

  the NJSACOP, but no actual, specific allegations made against the NJSACOP. See

  Compl., ¶80-86. The Complaint also mentions NJSACOP in Count VI (Conspiracy),

  but again fails to make any specific allegation against the NJSACOP, and without

  citing to any statute or regulation, or otherwise alleging that the NJSACOP violated

  any laws. See Compl., ¶125-129.

                                           9
  7494286
Case 1:23-cv-04070-JHR-SAK Document 19-1 Filed 10/23/23 Page 18 of 23 PageID: 194




            While the Complaint states the legal elements of Plaintiff’s various claims, it

  offers no specific substantive factual allegations to support any claim against Chief

  Nally or NJSACOP. This is not enough to survive this motion because a “complaint

  must allege more than mere ‘labels and conclusions’ or ‘a formulaic recitation of the

  elements of a cause of action.’” Twombly, 550 U.S. at 555. A plaintiff must establish

  each element of its claims through factual allegations sufficient to “raise a right to

  relief above the speculative level.” Id. District courts should dismiss complaints

  when “the well-pleaded facts do not permit the court to infer more than the mere

  possibility of misconduct.” Iqbal, 556 U.S. at 679 (citing Fed. R. Civ. P. 8(a)(2)).

  Thus, even affording Plaintiff every indulgence for purposes of this motion, his bald

  assertions cannot constitute ample notice to NJSACOP or Chief Nally of the precise

  misconduct with which they are charged, Morse v. Lower Merion Sch. Dist., 132 F.

  3d 902, 906 (3d Cir. 1997), because “‘boilerplate and conclusory allegations will not

  suffice. Plaintiffs must accompany their legal theory with factual allegations that

  make their theoretically viable claim plausible’.” In re Rockefeller Ctr. Props., Inc.

  Sec. Litig., 311 F.3d at 216 (quoting In re Burlington Coat Factory Sec. Litig., 114

  F.3d 1410, 1418 (3d Cir. 1997)).

            The Complaint’s fatal failure to make factual allegations as against Chief

  Nally and NJSACOP is not remediable given the nature of the relief sought and their

  underpinning factual narratives as plead by Plaintiff. In particular, Counts I and II

                                              10
  7494286
Case 1:23-cv-04070-JHR-SAK Document 19-1 Filed 10/23/23 Page 19 of 23 PageID: 195




  fail because neither NJSACOP nor Chief Nally were parties to or in privity with

  Plaintiff with respect to any contract. Counts III and V fail because they are

  predicated upon the existence of an employment relationship which does not exist

  between Plaintiff and NJSACOP or Chief Nally. Neither NJSACOP nor Chief Nally

  were Plaintiff’s employer. Again, this demonstrates that the true crux of the

  Complaint is a private employment dispute between employee and employer, to

  which an unrelated vendor to the employer cannot and should not be a party. Count

  IV fails because it is predicated on Plaintiff’s lack of promotion, a decision in which

  neither NJSACOP or Chief Nally had any part. Finally, Count VI fails because

  Plaintiff does not even identify what type of “conspiracy” or what legal theory he

  purports to assert to be a “conspiracy” within this Count. This is fatal to Plaintiff’s

  claims against NJSACOP. A plausible claim demands “more than an unadorned, the

  defendant-unlawfully-harmed-me accusation.” Ashcroft, 556 U.S. at 678 (quoting

  Twombly, 550 U.S. at 555). It is not enough for Plaintiff to invoke the specter of

  some nebulous, undefined “conspiracy” to defeat this motion, or to sustain this claim

  against NJSACOP or Chief Nally. Such “information and belief” pleading is

  impermissible. McDermott v. Clondalkin Grp., Inc., 649 F. App’x 263, 267–68 (3d

  Cir. 2016) (holding that pleading upon information and belief is permissible if

  plaintiffs accompany their legal theory with factual allegations that make their




                                            11
  7494286
Case 1:23-cv-04070-JHR-SAK Document 19-1 Filed 10/23/23 Page 20 of 23 PageID: 196




  theoretically viable claim plausible); In re Rockefeller Ctr. Props., Inc. Sec. Litig.,

  311 F.3d 198, 216 (3d Cir. 2002).

            In sum, while the Complaint makes out the legal elements of Plaintiff’s

  claims, it is completely devoid of any substantive factual allegations linking those

  claims to either NJSACOP or Chief Nally. As a result, Plaintiff fails to state any

  plausible claim for relief against NJSACOP and Chief Nally. Plaintiff’s Complaint

  must be dismissed accordingly.

            II.   NJSACOP AND CHIEF NALLY REQUEST LEAVE TO
                  FILE AN APPLICATION FOR SANCTIONS PURSUANT
                  TO FEDERAL RULE OF CIVIL PROCEDURE 11 DUE TO
                  THE FRIVOLITY OF PLAINTIFF’S COMPLAINT.

            Separate and apart from the fact that Plaintiff’s claims are insufficient to

  defeat the instant motion to dismiss based on failure to state a claim is that they are

  frivolous and resultantly entitle NJSACOP and Chief Nally to recuperate fees

  necessarily expended in defending against them. Federal Rule of Civil Procedure 11

  provides that “by presenting to the court a pleading, written motion, or other paper -

  - whether by signing, filing, submitting, or later advocating it -- an attorney or

  unrepresented party certifies that to the best of the person’s knowledge, information,

  and belief, formed after an inquiry reasonable under the circumstances:

     1) it is not being presented for any improper purpose, such as to harass, cause
        unnecessary delay, or needlessly increase the cost of litigation;
     2) the claims, defenses, and other legal contentions are warranted by existing
        law or by a nonfrivolous argument for extending, modifying, or reversing
        existing law or for establishing new law;
                                             12
  7494286
Case 1:23-cv-04070-JHR-SAK Document 19-1 Filed 10/23/23 Page 21 of 23 PageID: 197




     3) the factual contentions have evidentiary support or, if specifically so
        identified, will likely have evidentiary support after a reasonable
        opportunity for further investigation or discovery; and
     4) the denials of factual contentions are warranted on the evidence or, if
        specifically so identified, are reasonably based on belief or a lack of
        information.”

  Fed. R. Civ. Pro. 11(b)

            If a party violates Rule 11 -- such as by continuing to litigate against a party

  against whom recovery cannot be had, like Plaintiff does here -- then they are subject

  to sanctions under subsection (c), including attorney’s fees. The explicit language of

  Rule 11 specifically obliges a plaintiff’s attorney to certify that plaintiff’s position

  has merit, or to withdraw same when it becomes clear that the action is frivolous.

  Based on the complete lack of allegation against NJSACOP and Chief Nally in the

  Complaint, that time has unquestionably arrived.

            Rule 11 specifically is intended to “discourage pleadings that are frivolous,

  legally unreasonable, or without factual foundation, even though the paper was not

  filed in subjective bad faith.” Lieb v. Topstone Industries, Inc., 788 F.2d 151, 157

  (3d Cir. 1986). Plainly, Plaintiffs’ claims against NJSACOP and Chief Nally are

  “frivolous, legally unreasonable [and] without factual foundation.” Indeed, upon a

  review of the Complaint, it appears the gravamen of Plaintiff’s allegations are that

  following the conclusion of his promotional examination, Plaintiff advised the

  Township that he wanted to see his own test and grades. This has nothing to do with

  Chief Nally or NJSACOP -- NJSACOP merely develops the promotional
                                               13
  7494286
Case 1:23-cv-04070-JHR-SAK Document 19-1 Filed 10/23/23 Page 22 of 23 PageID: 198




  examinations, it has no hand whatsoever in anything beyond that. Plaintiff’s bald

  supposition that there must be some sort of conspiracy because NJSACOP created -

  - not administered -- the test he took is the definition of frivolous.

            As detailed herein, there simply are no facts or allegations specifically against

  Chief Nally, nor are there any allegations that the NJSACOP, as an outside private

  entity, did or did not do anything that violated any law. For these reasons, it appears

  no reasonable inquiry was made before naming either party. Clearly, Rule 11

  requires a more thorough inquiry prior to filing legal proceedings against an

  individual or company, who now must expend substantial funds defending against

  such frivolous litigation.

            Based on the facts as outlined above, it is untenable to maintain that

  NJSACOP or Chief Nally are somehow liable for Plaintiffs’ purported injuries as

  claimed in the Complaint. Instead, based on the foregoing, it is clear that Chief Nally

  and NJSACOP have been improperly identified by Plaintiffs as tortfeasors causing

  his alleged injuries, despite being, at most, interested non-parties subject to eventual

  discovery as litigation progresses -- not legally liable under the Complaint under any

  theory alleged and factually unsupported. Even after these deficiencies and key facts

  were explained to counsel for Plaintiff, they refused to yield in any way. See

  Gagliardi Cert., Exhibit “C.”




                                               14
  7494286
Case 1:23-cv-04070-JHR-SAK Document 19-1 Filed 10/23/23 Page 23 of 23 PageID: 199




            Accordingly, for the reasons set forth herein, NJSACOP and Chief Nally

  request leave to file an application for sanctions to be made pursuant to Rule 11.

                                      CONCLUSION

            In light of the foregoing, Defendants New Jersey State Association of Chiefs

  of Police and William Nally respectfully request that this court grant its motion to

  dismiss Plaintiff’s complaint for failure to state a claim, and dismiss the Plaintiff’s

  complaint, with prejudice, in its entirety.



                                        PORZIO, BROMBERG & NEWMAN, P.C.
                                        Attorneys for Defendants New Jersey State
                                        Association of Chiefs of Police and William
                                        Nally



                                           ____________________________________
                                                Vito A. Gagliardi, Jr.


  Dated: October 23, 2023




                                             15
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